      6:18-cv-00261-RAW Document 63 Filed in ED/OK on 01/23/19 Page 1 of 5



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF OKLAHOMA

(1) JAMES LEGROS, SR. and                             )
(2) JACQUELINE MILIOTO, as next friend to             )
    D.M., a minor, as next of kin of                  )
    JAMES LEGROS, JR., deceased,                      )
                                                      )
                                Plaintiffs,           )
                                                      )
vs.                                                   )      Case No. 18-CIV-261-RAW
                                                      )
(1) BOARD OF COUNTY COMMISSIONERS                     )
    FOR CHOCTAW COUNTY; et al.,                       )
                                                      )
                                Defendants.           )

                                      PROTECTIVE ORDER

       Pursuant to the Defendants’ Motion for Agreed Protective Order [Dkt. 58], and for good

cause, this Court enters the following Protective Order governing confidential and private material

obtained in this case.

       1.      The following materials obtained during the course of this litigation are deemed

private and confidential and subject to this Order:

               A.        Any materials received by Plaintiffs from the Choctaw County Sheriff’s

                         Office that are not otherwise an open record under the Oklahoma Open

                         Records Act, including any video and audio recordings or photographs

                         made or taken within the Choctaw County Jail; Performance appraisals or

                         disciplinary records related to non-parties; Social Security numbers and

                         dates of birth of any persons; Unlisted home addresses or unlisted home

                         phone numbers; Educational records of any persons to the extent such

                         records are covered by 20 U.S.C. § 1232g(4); Personnel files of Jail or

                         Sheriff’s Office employees, Personal contact information of present and

                         former employees, officers, or agents of the Defendants; and Policies and
     6:18-cv-00261-RAW Document 63 Filed in ED/OK on 01/23/19 Page 2 of 5



                       Procedures of the Choctaw County Jail or Choctaw County Sheriff’s Office

                       related to the operation of the jail.

       2.      The confidential materials described above shall remain confidential and, absent

permission by the Court, will be used only for the purpose of preparation and presentation of this

case with the exception that should counsel for either party have subsequent litigation with a party

who has provided confidential information, such information may be used by counsel subject to

the continued terms and obligations of this or any subsequent protective order.

       Such confidential materials may be disclosed to:

               A.      The parties;

               B.      The attorneys for the parties and the attorneys’ staff;

               C.      Court staff and staff of the Court Clerk;

               D.      Any court reporter or videographer;

               E.      Any person who reasonably would need to see such materials in order give

                       testimony or information related to the case, to form opinions or to serve as

                       a consultant with regard to issues in the action, or to make settlement

                       decisions related to the case.

       3.      In order to comply with HIPAA requirements and particularly 45 C.F.R.

§164.512(v)(A), (B), a party receiving medical records must:

               A.      Not use or disclose the protected health information for any purpose other

                       than the litigation or proceeding for which such information was requested;

                       and

               B.      Must return such information to either the entity from which it was received,

                       or the attorney of the party to whom it pertains or destroy the protected



                                                  2
     6:18-cv-00261-RAW Document 63 Filed in ED/OK on 01/23/19 Page 3 of 5



                       health information (including all copies made) which actions must be taken

                       at the end of the litigation or proceeding.

       4.      In the case of disclosure of records or confidential documents to persons who are

potential witnesses as described in Par. 2 above, the disclosing party may not provide the potential

witness with a copy of any confidential document but may show such document or orally share

that information. Such persons must be advised that the information is subject to a confidentiality

order and that such order applies to them. Such persons must be advised that they must maintain

such information as confidential.

       5.      Information that is confidential shall be marked confidential.

               A.      Control and distribution of the information and/or documents subject to this

                       Order shall be the responsibility of the attorneys of record. Counsel shall

                       instruct any individual who views confidential information that such person

                       is bound by the terms of this Order and must not reveal the information to

                       any other persons.

               B.      The inadvertent or unintentional failure to designate any information

                       confidential pursuant to this Order or to assert a claim of privilege or work

                       product immunity shall not constitute a waiver of any otherwise valid claim

                       for protection so long as such claim is asserted within fifteen (15) days of

                       the initial production or disclosure. Within that time the designating party

                       may substitute properly labeled copies of confidential information or

                       identify by Bates number the documents claimed as privileged and shall

                       provide a privilege log setting out those facts necessary to establish each

                       element of the privilege.



                                                   3
     6:18-cv-00261-RAW Document 63 Filed in ED/OK on 01/23/19 Page 4 of 5



               C.      Upon receiving notification of the claim of privilege, the receiving party

                       shall return all originals and copies of those documents without prejudice to

                       that party’s right to contest the designation of privilege.

               D.      This Order shall remain in force unless and until it is modified by this Court.

               F.      Information filed of record or presented in open court shall, except for

                       sealed information, cease to be confidential when so filed or presented

                       subject, however, to the right of either party to move separately for the

                       sealing of such information or for its withdrawal from the public record.

       6.      The entry of this protective order does not constitute a determination that any

material designated as confidential are either relevant, admissible or subject to being produced

during discovery, any hearing, or the trial of this matter. Each party retains the right to make

substantive objections to discovery requests other than those based on privacy or confidentiality.

       7.      This Order shall not affect or limit the presentation of evidence, including materials

marked as confidential, during the trial of this action.

       8.      At the conclusion of the litigation– which includes completion of all appeals,

matters on remand or the expiration of time for appeals– counsel shall, if requested, return tax

records, medical or counseling records, marital records, and educational records. The balance of

any other confidential records shall be returned or destroyed at counsel’s option after the passage

of five years. If a party seeks the return of confidential documents which have been copied or

obtained at the expense of the opposing party, the party seeking their return must reimburse the

other party for those initial copying expenses and any costs associated with return of such

documents. It is in all instances the responsibility of the party seeking return of documents to make

a formal request for return and set out the proposed manner of return.



                                                  4
6:18-cv-00261-RAW Document 63 Filed in ED/OK on 01/23/19 Page 5 of 5




 SO ORDERED THIS 23rd DAY OF January, 2019.




                               RONALD A. WHITE
                               UNITED STATES DISTRICT JUDGE




                                 5
